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               IN THE UNITED STATES DISTRICT COURT FOR                                   DIV.
                  THE SOUTHERN DISTRICT OF GEORGIA                                    fin I0-* 26
                           SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                            Case No. CR419-017


LUTHER RUTH,


                  Defendant




     Felicia N. Spears counsel of record for defendant Luther Ruth

in the above-styled case has moved for leave of absence.            The Court

is mindful that personal and professional obligations require the

absence   of    counsel   on   occasion. The Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and          trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


      SO ORDERED this     3- day of June 2019.



                                   WILLIAM T. MOORE, JRT, JUDGE
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
